 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 1 of 35 PageID 8158



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

STATE OF TEXAS, et al. ,                           §
                                                   §
       Plaintiffs,                                 §
                                                   §
V.                                                 §            2:21-CV-067-Z
                                                   §
JOSEPH R. BIDEN, JR., et al.,                      §
                                                   §
       Defendants.                                 §

                                     OPINION AND ORDER

       This case began as a challenge to the termination of the Migrant Protection Protocols

("MPP") program in January 2021. Although the legal instruments governing the termination

evolved over time by issuance of new memoranda, this case continued. Most recently, the

Supreme Court remanded the case for this Court to consider Plaintiff States of Texas and

Missouri' s ("Plaintiffs") claims against the most recent memoranda. The Court now considers

Plaintiffs' Motion to Postpone the Effective Date of Agency Action ("Motion") (ECF No. 149),

filed on August 8, 2022. Plaintiffs carry their burden to show -    among other things -   they will

likely prevail on the merits. Accordingly, the Court GRANTS the Motion and STAYS the most

recent memoranda, issued on October 29, 2021, and corresponding decision to terminate MPP

until the Court can resolve the merits of Plaintiffs' claims.

       BACKGROUND

       This action has a complex procedural history, having gone from this Court to the Fifth

Circuit, to the Supreme Court, and back to this Court on remand. Or, "there and back again."

See J.R.R. TOLKIEN, THE HOBBIT, OR THERE AND BACK AGAIN (1937). The Court first addresses

that procedural histo1y before more thoroughly detailing the facts relevant on remand.
    Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                            Page 2 of 35 PageID 8159



         A. Procedural Background

         On December 20, 2019, the Department of Homeland Security ("OHS") announced MPP.

OHS created the program in response to an immigration surge at the southern border of the United

States and a resulting "humanitarian and border security crisis" in which federal immigration

officials were encountering about 2,000 inadmissible aliens each day. ECF No. 94 at 7. MPP

required OHS to return certain non-Mexican nationals arriving by land from Mexico back to

Mexico to await the results of their removal proceedings under 8 U.S.C. § 1229a. The Government

of Mexico agreed to temporarily cooperate in administering MPP. Id. at 8.

         Congress authorized MPP in the Immigration and Nationality Act ("INA"). The INA

provides: "In the case of an alien .. . who is arriving on land (whether or not at a designated port

of arrival) from a foreign territory contiguous to the United States, the Attorney General may return

the alien to that territory pending a proceeding under section 1229a of this title." 1 8 U.S.C.

§ l 225(b)(2)(C). A separate provision of the same INA section states: If "an alien seeking

admission is not clearly and beyond a doubt entitled to be admitted, the alien shall be detained for

a proceeding under section 1229a of this title." Id. § 1225(b)(2)(A).

         OHS began implementing MPP in January 2019. ECF No. 94 at 8. President Trnmp' s

administration implemented MPP because OHS lacks the resources to detain eve1y alien seeking

admission to the United States. Id. at 43. MPP ensured "[c]ertain aliens attempting to enter the

U.S. illegally or without documentation, including those who claim asylum, will no longer be

released into the country, where they often fail to file an asylum application and/or disappear




1
 Although this provision refers to the Attorney General, the authority it confers has been transferred to the Secretary
of Homeland Security. See 6 U.S.C. § 251 (2) (transferring authority over " [t]he detention and removal program" to
OHS); Dep 't of Homeland Sec. v. T/111raissigia111, 140 S. Ct. 1959, 1965 n.3 (2020).



                                                          2
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                 Page 3 of 35 PageID 8160



before an immigration judge can determine the merits of any claim." Id. at 8. By December 31 ,

2020, DHS had emolled 68,039 aliens in the program. Id. at 12.

       On January 20, 2021 , the Acting Secretary ofDHS wrote: "Effective January 21, 2021, the

Department will suspend new emollments in [MPP] pending further review of the program. Aliens

who are not already emolled in MPP should be processed under other existing legal authorities."

Id. at 15 (" January Suspension"). President Biden's administration later issued Executive Order

No. 14010, which directed DHS Secretary Alejandro Mayorkas to "promptly review and determine

whether to terminate or modify [MPP]." 86 Fed. Reg. 8269 (2021).

       On June 1, 2021, Secretary Mayorkas issued a memorandum officially ending MPP. See

Memorandum from Alejandro N. Mayorkas, ·Sec'y of Homeland Security, Termination of the

Migrant Protection Protocols Program (June 1, 2021) ("June 1 Memorandum"). In doing so,

Secretmy Mayorkas "direct[ed] DHS personnel to take all appropriate actions to terminate MPP,

including taking all steps necessa1y to rescind implementing guidance and other directives or

policy guidance issued to implement the program." ECF No . 54-2 at 172.

       On April 13, 2021 , Plaintiffs initiated this litigation challenging President Biden' s

administration's termination of MPP. See generally ECF No. 1. Plaintiffs' initial Complaint

challenged the Janumy Suspension that paused new enrollments in MPP. Following the June 1

Memorandum, Plaintiffs amended their Complaint to challenge the termination of the entire

program. See generally ECF No. 48. Plaintiffs' First Amended Complaint asserted the June 1

Memorandum violated the INA and the Administrative Procedure Act ("APA"), 5 U.S.C. § 701 el

seq. , and sought preliminmy and permanent injunctive relief, declaratmy relief, and vacatur of the

termination under the AP A. See id.




                                                3
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                 Page 4 of 35 PageID 8161



       After a consolidated hearing and a trial on the merits under Federal Rule of Civil

Procedure 65(a)(2), the Court vacated the June 1 Memorandum and enjoined Defendants to

continue to implement MPP " in good faith until such a time as it has been lawfully rescinded in

compliance with the AP A and until such a time as the federal government has sufficient detention

capacity to detain all aliens subject to mandatory detention under Section 1225 without releasing

any aliens because of a lack of detention resources." ECF No. 94 at 52-53. Defendants sought a

stay of that order, which the Fifth Circuit denied. State v. Eiden, 10 F.4th 538, 543-61 (2021)

(per curiam). The Supreme Court also denied Defendants' stay request because Defendants " had

failed to show a likelihood of success on the claim that the [June 1 Memorandum] was not arbitrary

and capricious." Biden v. Texas, 142 S. Ct. 926, 926 (2021) (mem. op.).

       On the cusp of oral argument in the Fifth Circuit, DHS issued two memoranda

("October 29 Memoranda") declaring that it had made a new decision terminating MPP. See ECF

No. 162 at 19- 61 , Termination of the Migrant Protection Protocols ("Termination Memorandum")

and Explanation of the Decision to Terminate the Migrant Protection Protocols ("Explanation

Memorandum"). At the same time, Defendants asked the Fifth Circuit to hold the case moot, to

vacate this Court' s judgment and permanent injunction, and to remand the case for further

proceedings. Texas v. Eiden, 20 F.4th 928, 946 (5th Cir. 2021) ("Eiden If'). The Fifth Circuit

declined. It instead held that the October 29 Memoranda did not moot or have any legal effect on

the appeal. Id. at 956-66, 998- 1000. The Fifth Circuit then affirmed this Court on the merits.

See generally id.

       On June 30, 2022, the Supreme Court reversed the Fifth Circuit. See generally Eiden v.

Texas, 142 S. Ct. 2528 (2022) ("Biden III"). First, the Supreme Court determined 8 U.S.C .

§ 1252(±)(1) barred this Court's injunction, though that provision does not deprive this Court of




                                                4
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                  Page 5 of 35 PageID 8162



subject-matter jurisdiction over this action. See id. at 2538-39. The Supreme Court also held the

termination   of MPP did not itself violate the mandatory-detention requirement                  of

Section 1225(b)(2)(A), although the Supreme Court "assume[d] arguendo . . . that the dissent's

interpretation of section 1225(b)(2)(A) is correct, and that the Government is currently violating

its obligations under that provision." Id. at 2542. Eiden Ill did not disturb any of the holdings of

this Court or the Fifth Circuit on issues of standing or reviewability to challenge a termination of

MPP, the limits on parole authority, or the mandat01y nature of the detention requirements of

Section 1225.

       Although the Supreme Court determined the October 29 Memoranda constitute final

agency action that suspended the June 1 Memorandum, the Supreme Comt did not answer whether

the October 29 Memoranda are arbitrary and capricious under the APA. That task, the Supreme

Court stated, is for this Court. See id. at 2548 ("On remand, the District Court should consider in

the first instance whether the October 29 Memoranda comply with section 706 of the APA." (citing

Motor Vehicle Mfrs. Ass 'n of U.S., Inc. v. State Farm Mui. Auto. Ins. Co., 463 U.S. 29, 46-57

( 1983))), 2549 (Kavanaugh, J., concurring) ("The question of whether DHS ' s October 29 decision

satisfies the State Farm standard is not before this Court at this time. The Comt today therefore

properly leaves the State Farm issue for consideration on remand."), 2559 (Alito, J., dissenting)

("I agree with the majority that the District Court on remand should consider in the first instance

whether the October 29 Memoranda complied with§ 706 of the APA."). Plaintiffs now challenge

the October 29 Memoranda.

       B. Background Relevant to the October 29 Memoranda

       On October 29, 2021, the Secretary issued the two memoranda, which the Court

collectively calls the "October 29 Memoranda." The October 29 Memoranda consist of




                                                 5
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 6 of 35 PageID 8163



the "Termination Memorandum" (four pages again announcing the termination of MPP) and the

"Explanation Memorandum" (thirty-nine pages explaining the reasons for doing so). See generally

ECF No. 162 at 19-61. The October 29 Memoranda claim the Secretary "examined the

considerations that th[is] District Court determined were insufficiently addressed in the June 1

Memorandum, including the view that MPP discouraged unlawful border crossings, decreased the

filing of non-meritorious asylum claims, and facilitated more timely relief for asylum seekers, as

well as predictions that termination of MPP would lead to a border surge, impose undue costs on

states, put a strain on U.S.-Mexico relations, and cause DHS to fail to comply with its [detention]

obligations under 8 U.S.C. § 1225." Id at 34.

       In the October 29 Memoranda, the Secretmy identified what he believed to be " the

strongest argument in favor of retaining MPP: namely, the significant decrease in border

encounters following the determination to implement MPP across the southern border." Id. at 21.

The Secretmy nonetheless concluded MPP' s "benefits do not justify the costs, particularly given

the way in which MPP detracts from other regional and domestic goals, foreign-policy objectives,

and domestic policy initiatives that better align with this Administration's values." Id. Finally, the

Secretary noted that " [e ]fforts to implement MPP have played a pm1icularly outsized role in

diplomatic engagements with Mexico, diverting attention from more productive efforts to fight

transnational criminal and smuggling networks and address the root causes of migration." Id

       Considering these conclusions, the Secretary announced he would once again terminate

MPP. Id. at 22. The Secretary explained DHS would "continue complying with [this Court' s]

injunction requiring good-faith implementation and enforcement of MPP," but that "the

termination of MPP" would be "implemented as soon as practicable after a final judicial




                                                  6
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 7 of 35 PageID 8164



decision to vacate" that injunction. Id. This Court vacated its injunction on August 8, 2022.

See ECF No. 147.

        C. The Pending Motion

        On August 8, 2022, Plaintiffs filed the instant Motion. See ECF No. 149. Plaintiffs ask the

Court to issue "a stay of the October 29 Memoranda pending a final merits determination as to

whether they satisfy the requirements of reasoned decisionmaking under the APA." Id. at 11.

Plaintiffs allege the Secretary failed to adequately consider: (1) "how using contiguous-territory

return authority would allow Defendants to avoid violations of the IN A' s clear detention mandate";

(2) "MPP' s deterrent effect in reducing dangerous attempted illegal border crossings, as well as

MPP's reduction of unmeritorious asylum claims" ; (3) "the justification of changed factual

determinations regarding in absentia removal orders"; (4) " whether DHS's rescission of MPP

is causing [DHS] to violate the limits on its parole authority"; and (5) "costs to States and their

reliance interests." Id.

        Defendants dispute these assertions. See ECF No. 163 at 34- 51. But before addressing the

substance of Plaintiffs' APA claims, Defendants argue this Court lacks jurisdiction and the request

for stay is not justiciable. See id. at 17- 25. Specifically, Defendants argue : (1) 8 U.S .C.

§ 1252(f)(l) "bars jurisdiction to stay an agency action directing how OHS will implement

[8 U.S.C . §] 1225(b)(2)(C)"; (2) a court may not "stay agency action that has already gone into

effect"; (3) "Plaintiffs lack standing to challenge the October 29 memorandum"; and

(4) "Plaintiffs' APA claim is not reviewable." See id. at 25- 51.




                                                 7
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                  Page 8 of 35 PageID 8165



       ANALYSIS


       The Court separates Parties' arguments into two categories: justiciability arguments and

merits arguments. The Court will reorder and consider Defendants' justiciability arguments before

turning to Plaintiffs' APA claims.

       A. Plaintiffs Possess Standing

       The judicial power of federal courts is limited to certain "Cases" and "Controversies." U.S.

CONST. art. III, § 2. The case-or-controversy requirement requires a plaintiff to establish standing

to sue. See Gill v. Whitford, 138 S. Ct. 1916, 1923 (2018); Cibolo Waste, Inc. v. City of San

Antonio, 718 F.3d 469,473 (5th Cir. 2013) ("Every party that comes before a federal court must

establish that it has standing to pursue its claims.").

        Standing is "an essential and unchanging part of the case-or-controversy requirement of

Article III." Lujan v. Deft. of Wildl(fe, 504 U.S . 555, 560 (1992). To possess standing, the patty

invoking federal jurisdiction must establish he suffered: (1) an "injury in fact" that is "concrete

and particularized" and "actual or imminent" ; (2) his injmy is "fairly ... trace[able] to the

challenged action of the defendant"; and (3) his injmy is "likely" rather than "speculative[ly]" to

be "redressed by a favorable decision." Id. at 560--61 (internal marks omitted).

       Plaintiffs have standing to challenge the October 29 Memoranda for the same reasons that

they had standing to challenge the previous termination of MPP. See Env 't Tex. Citizen Lobby,

Inc. v. ExxonMobil Corp., 47 F.4th 408, 416 (5th Cir. 2022); ECF No. 94 at 21-26.

Additionally, the Court's previous determinations on standing constitute the law of the case

because the agency action at issue is identical to the previously challenged action. See Free v.

Abboff Lab'ys, Inc., 164 F.3d 270, 272- 73 (5th Cir. 1999) Uoining other circuits in refusing to

recognize jurisdiction exception to law-of-the-case doctrine and explaining that although a federal




                                                   8
 Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                  Page 9 of 35 PageID 8166



com1 must examine each case to determine basis for jurisdiction, "perpetual re-examination of

precisely the same issue of subject matter jurisdiction" is not required). That is, under MPP, large

numbers of aliens who would otherwise impose costs on the States were instead required to remain

in Mexico pending determinations of their asylum proceedings, and the termination of the program

led to the imposition of those costs. See ECF No. 94 at 17-26; Eiden II, 20 F.4th at 966- 76 (finding

States had standing to challenge agency action terminating MPP, including for claim of arbitrary-

and-capricious decisionmaking under the APA).

        Although Defendants argue the Court cannot rely on its previous standing determination,

the Supreme Court did not overturn the standing determinations of this Court or the Fifth Circuit.

See ECF No. 163 at 28- 29; Data Mktg. P 'ship, LP v. US. Dep 't of Lab., 45 F.4th 846, 856 n.2

(5th Cir. 2022); Texas v. United States, 40 F.4th 205, 222 n.9 (5th Cir. 2022) (per curiam)

(considering Eiden II binding on all grounds not reversed), cert. granted, No. 22Al 7 (22-58), 2022

WL 4841804 (July 21, 2022); Cent. Pines Land Co. v. United States, 274 F.3d 881, 893 n.57

(5th Cir. 2001) (concluding circuit opinions in which judgment reversed on only some grounds are

still precedential with respect to portions not reversed). The Supreme Court implied standing is

satisfied -   as it remanded this action for the limited consideration of whether the October 29

Memoranda were arbitrary and capricious. See Eiden Ill, 142 S. Ct. at 2548; Fisher v. Univ. of

Tex. at Austin, 758 F.3d 633,640 (5th Cir. 2014), aff'd, 579 U.S. 365 (2016) ("The Supreme Court

did not address the issue of standing, although it was squarely presented to it."). The Supreme

Court would not have remanded this case to this Court if Plaintiffs lacked standing to challenge

the October 29 Memoranda.

        Moreover, "the mandate rule, a corollaiy of the law of the case doctrine, compels

compliance on remand with the dictates of a superior court and forecloses relitigation of issues




                                                 9
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 10 of 35 PageID 8167



expressly or impliedly decided by the appellate comt." Fisher, 758 F.3d at 639-40 (internal marks

omitted); see also United States v. Castillo, 179 F.3d 321, 329 (5th Cir. 1999) ("The mandate rule

requires a district court on remand to effect our mandate and to do nothing else."); United States

v. Matthews, 312 F.3d 652, 657 (5th Cir. 2002) (A court "must implement both the letter and the

spirit of the appellate court's mandate and may not disregard the explicit directives of that court."

(quoting United States v. Becerra, 155 F.3d 740, 753 (5th Cir. 1998))).

       This Court will not exceed the Supreme Court or Fifth Circuit's mandates. See Eiden III,

142 S. Ct. at 2548 ("On remand, the District Court should consider in the first instance whether

the October 29 Memoranda comply with section 706 of the APA."); Texas v. Eiden, 43 F.4th 446,

447 (5th Cir. 2022) (per curiam) (mem. op.) ("We remand for further proceedings consistent with

the Supreme Court's decision." (emphasis removed)). Accordingly, the Comt finds no reason to

dismiss this case for an alleged absence of standing.

       B. Plaintiffs Assert a Valid Cause of Action

       Defendants renew two arguments against judicial review of the Secretary's decision to

terminate MPP. First, Defendants argue agency action terminating MPP is "committed to agency

discretion" by law and, therefore, not subject to judicial review. ECF No. 163 at 32; see also

5 U.S.C. § 701(a)(2). Second, Defendants argue Plaintiffs' claims challenging the termination of

MPP fall outside the zone of interests of the INA. ECF No. 163 at 32-33. The Court has rejected

both arguments. See ECF No. 94 at 31- 34. The Fifth Circuit has done the same. See Eiden II, 20

F.4th at 975-76, 978-88. The portion of the Fifth Circuit's opinion rejecting these arguments

remains good law. See Data Mktg. P 'ship, 45 F.4th 846, 856 n.2. And again, the Supreme Comt

expressly remanded this case to this Court to "consider in the first instance whether the October
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                    Page 11 of 35 PageID 8168



29 Memoranda comply with section 706 of the APA." Biden III, 142 S. Ct. at 2548. The Court

therefore finds Defendants' arguments unpersuasive.

       C. Section 1252(f)(1) Does Not Bar Jurisdiction

       Parties dispute whether the Court has "jurisdiction or authority" to "issue all necessary and

appropriate process to postpone the effective date of an agency action or to preserve status or rights

pending conclusion of the review proceedings" under Section 705 of the APA. The Court

determines it does.

       Section 705 of the APA provides:

       When an agency finds that justice so requires, it may postpone the effective date of
       action taken by it, pending judicial review. On such conditions as may be required
       and to the extent necessmy to prevent irreparable injmy, the reviewing comt,
       including the court to which a case may be taken on appeal from or on application
       for certiorari or other writ to a reviewing court, may issue all necessary and
       appropriate process to postpone the effective date of an agency action or to preserve
       status or rights pending conclusion of the review proceedings.

5 U.S.C. § 705. Section 1252(f)(l) of the INA states:

       Regardless of the nature of the action or claim or of the identity of the party or
       parties bringing the action, no court (other than the Supreme Court) shall have
       jurisdiction or authority to enjoin or restrain the operation of the provisions of
       part IV of this subchapter, as amended by the Illegal Immigration Reform and
       Immigrant Responsibility Act of 1996, other than with respect to the application of
       such provisions to an individual alien against whom proceedings under such part
       have been initiated.

8 U .S.C. § l 252(f)(l ). The Supreme Court recently held Section 1252(f)(l) "prohibits lower courts

from entering injunctions that order federal officials to take or to refrain from taking actions to

enforce, implement, or otherwise cany out the specified statutory provisions." Garland v. Aleman

Gonzalez, 142 S. Ct. 2057, 2065 (2022).

       Neither the Supreme Court nor the Fifth Circuit have answered whether Section 1252(f)(l)

prohibits relief under Section 705. In fact, the Supreme Court has expressly reserved whether

Section 1252(f)(l) prohibits various types of non-injunctive relief. See Biden Ill, 142 S. Ct. at 2548


                                                 11
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 12 of 35 PageID 8169



(directing this Court to consider whether October 29 Memoranda comply with Section 706 of the

APA), 2552 (Alito, J., dissenting) (noting whether Section 1252(f)(l) bars review under Section

706 "is an important question" that remains), 2562 (Barrett, J., dissenting) (noting the Supreme

Court "reserves the question whether§ 1252(f)(l) bars declaratory relief' and "avoids a position

on whether § l 252(f)( l) prevents a lower court from vacating or setting aside an agency action

under the [APA]" (internal marks omitted)); Aleman Gonzalez, 142 S. Ct. at 2077 n.9 (Sotomayor,

J., concurring) ("Section 1252(f)(1) limits lower courts' authority to 'enjoin or restrain,' whereas

a declaratory judgment (unlike an injunction) 'is not ultimately coercive."' (quoting Steffel v.

Thompson, 415 U.S. 452, 471 (1974)) (collecting cases)).

       Because neither the Supreme Court nor the Fifth Circuit have answered whether

Section 1252(f)( 1) prohibits relief under Section 705, this Court will decide the issue. The Court

begins with the text of Section 705. The Comi construes statutory text to give effect to the

ordinary public meaning conveyed when Congress enacted the statute. New Prime Inc. v. Oliveira,

139 S._ Ct. 532, 536 (2019); ANTONIN SCALIA & BRYAN A. GARNER, READING LAW:

THE INTERPRETATION OF LEGAL TEXTS 69-92 (2012) ("Reading Law"). When doing so, the Court

"read[s] the statute as a whole, so as to give effect to each of its provisions without rendering any

language superfluous." Bustamante-Barrera v. Gonzales, 447 F.3d 388, 397 (5th Cir. 2006).

And the Court must abide by judicially accepted principles of linguistics in reading the whole -

including compositionality. See generally James C. Phillips, The Overlooked Evidence in the Title

VII Cases: The Linguistic (and Therefore Textualist) Principle of Compositionality (May 11 ,

2020) (unpublished manuscript); Bostock v. Clayton County, 140 S. Ct. 1731, 1769 n.22 (2020)

(Alita, J., dissenting) (same). Although courts start with the words themselves, the text should be

"interpreted in its statutory and historical context and with appreciation for its importance to the




                                                 12
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                                   Page 13 of 35 PageID 8170



[statute] as a whole." Whitman v. Am. Trucking Ass 'ns, 531 U.S. 457,471 (2001). Context includes

the corpusjuris of which a statute is a part. See Felix Frankfurter, Some Reflections on the Reading

of Statutes, 47 COLUM. L. REV. 527, 539 (1947) ("Statutes cannot be read intelligently if the eye

is closed to considerations evidenced in affiliated statutes.").

         The Fifth Circuit recently determined a district court may hold unlawful and set aside an

agency action under Section 706 despite Section 1252(£)(1). See Texas, 40 F.4th at 219-20; Texas

v. United States, 50 F.4th 498, 528 (5th Cir. 2022) (Section 1252(£)(1) "does not apply to

vacatur. "). Section 706 grants a court reviewing agency action remedial options, including:

(1) compelling agency action; and (2) holding unlawful and setting aside agency action. The latter

of these options is often called "vacatur." The Fifth Circuit has acknowledged "meaningful

differences between an injunction, which is a 'drastic and extraordinary remedy,' and vacatur,

which is ' a less drastic remedy."' See Texas, 40 F.4th at 219 (quoting Arfonsanto Co. v. Geertson

Seed Farms, 561 U.S. 139, 165 (2010)). Whereas an injunction " tells someone what to do or not

to do," a vacatur only reinstates "the status quo absent the unlawful agency action and neither

compels nor restrains fmther agency decision-making." Aleman Gonzalez, 142 S. Ct. at 2064

(quoting Nken v. Holder, 556 U.S. 418,428 (2009)); Texas, 40 F.4th at 219. Accordingly, the Fifth

Circuit has not extended Section l 252(f)(l )'s limitations on injunctive relief to vacatm-,2

"especially when doing so would be contrary to the 'strong presumption favoring judicial review

of administrative action.'" Texas, 40 F.4th at 220 (quoting Salinas v. US. R.R. Rel. Bd., 141 S. Ct.

691,698 (2021)).




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 In fact, the title of Section 1252(t) is "Limit on injunctive relief." See INS v. Nat 'I Ctr. f or Immigrants' Rights, Inc. ,
502 U.S. 183, 189 ( 199 I); SCALIA & GARNER, READING LAW 221 ("Title-and-Headings Canon"). "By its plain terms,
and even by its title, that provision is nothing more or less than a limit on injunctive relief." Reno v. Am-Arab A11ti-
Discrimi11atio11 Comm. , 525 U.S. 471 , 481 (1999).


                                                             13
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                    Page 14 of 35 PageID 8171



       Just   as   Section    l 252(t)(l) does    not   prohibit "vacatur"      under    Section    706,

Section l 252(f)( 1) does not prohibit issuance of a "stay" under Section 705. Although Section 705

does not use the term "stay," courts characterize the provision as allowing for such relief. See, e.g.,

Texas v. EPA, 829 F.3d 405,435 (5th Cir. 2016) ("We have the power to stay the agency' s action

' to the extent necessary to prevent irreparable injury[.]"' (quoting 5 U.S.C. § 705) (emphasis

added) (alteration in original)); Affinity Healthcare Servs., Inc. v. Sebelius, 720 F. Supp. 2d 12, 15

n.4 (D.D.C. 2010) (Section 705 "authorizes reviewing courts to stay agency action pending judicial

review." (emphasis added)).

       Revisit Section 706. That provision states a court shall "hold unlawful and set aside agency

action" under certain circumstances. 5 U.S .C. § 706(2). Neither "vacate" nor "vacatur" appear in

the statute. Still, courts understand Section 706 to permit vacatur -   i.e. , " [t]he act of annulling or

setting aside." Vacatur, BLACK'S LAW DICTIONARY (11th ed. 2019). Just as Section 706 does not

employ the term "vacatur," Section 705 does not use the term "stay." But the same logic applies:

Section 705 should be understood to permit the issuance of a stay, rather than injunctive relief.

Compare 5 U .S.C. § 705 (A court "may issue all necessary and appropriate process to postpone

the effective date of an agency action or to preserve status or rights pending conclusion of the

review proceedings."), with Stay, BLACK'S LAw DICTIONARY ("The postponement or halting of a

proceeding, judgment, or the like.").

       Unlike an injunction, a stay would not "order federal officials to take or to refrain from

taking actions to enforce, implement, or otherwise carry out the specified statutory provisions" at

issue. Aleman Gonzalez, 142 S. Ct. at 2065; see also Jonathan F. Mitchell, The Writ-ofErasure

Fallacy, 104 VA. L. REV. 933, 950- 51, 1016 (2018) ("Preliminmy relief under section 705 differs

from a preliminaiy injunction, which blocks the executive from enforcing a law but does not




                                                  14
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                             Page 15 of 35 PageID 8172



postpone the effective date of the law itself. Section 705, by contrast, empowers courts to delay

the effective date of the challenged agency action."). 3 A Section 705 stay can instead be seen as

an interim or lesser form of vacatur under Section 706. Just as a preliminary injunction is often a

precursor to a permanent injunction, a stay under Section 705 can be viewed as a precursor to

vacatur under Section 706. Compare Stay, BLACK'S LAW DICTIONARY ("The postponement or

halting of a proceeding, judgment, or the like."), and Vacatur ("The act of annulling or

setting aside."), with Injunction ("A court order commanding or preventing an action.").

         It would be "particularly dubious in light of the [Supreme] Court's caveats" to extend

Aleman Gonzalez or Section 1252(f)(l) to stays under Section 705. Texas, 40 F.4th at 219, 220

("The Supreme Court has indicated that§ 1252(f) is to be interpreted relatively narrowly. Indeed,

the Court described§ 1252(f) as 'nothing more or less than a limit on injunctive relief. "' (quoting

Am. -Arab Anti-Discrimination Comm., 525 U.S. at 481 )). Accordingly, the Court finds it has

authority to "issue all necessary and appropriate process to postpone the effective date of an agency

action" in light of Section 1252(f)(l). 5 U.S.C. § 705.

         D. The Court May Stay the October 29 Memoranda under Section 705

         Defendants argue Section 705 may only remedy an agency action that has yet to take effect.

ECF No. 163 at 25. In support of their argument, Defendants cite cases4 interpreting an agency's

ability to "postpone the effective date of action taken by it." Id. Although these cases do not


3 To be sure, stays and injunctions share similarities. See Nken, 556 U.S. at 428- 29 ("A stay [of an agency action]
pending appeal certainly has some functional overlap with an injunction, particularly a preliminaty one .... [due to
both having] the practical effect of pre venting some action before the legality of that action has been conclusively
determined. But a stay achieves this result by temporarily suspending the source of authority to act - the order or
judgment in question - not by directing an actor's conduct."). Indeed, "[i]n a general sense, every order of a court
which commands or forbids is an injunction; but in its accepted legal sense, an injunction is a judicial process or
mandate operating in personam." Id. at 428.
4These cases include: Sc{fety-Kleen Corp. v. EPA, Nos. 92-1629, 92-1639, 1996 U.S. App. LEXIS 2324, at *2- 3 (D.C.
Cir. Jan. 19, 1996); Ctr.for Biological Diversity v. Regan, No. CV-2 l - 119 (ROM), 2022 WL 971067, at *2 1 (D.D.C.
Mar. 30, 2022); Nat. Res. Def Council v. U.S. Dep't of Energy, 263 F. Supp. 3d 126, 151 (S.D.N.Y. 2019); and
Califomia v. U.S. Bureau ofland Mgmt., 277 F. Supp. 3d 1106, 1118 (N.D. Cal.2017).


                                                         15
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                                   Page 16 of 35 PageID 8173



interpret what it means for "the reviewing comt ... to postpon[e] the effective date of an agency

action," Defendants argue "[t]he use of an identical phrase in .. . Section 705 must be presumed

to be intentional." Id. at 26 (quoting 5 U.S.C. § 705). And therefore, the Court cannot issue interim

relief to stay the effect of an already-effective agency action. 5

         Whether the effective date of the October 29 Memoranda has passed is irrelevant to this

Court's ability to issue a Section 705 stay. 6 Courts -               including the Supreme Court -              routinely

stay already-effective agency action under Section 705. See, e.g., West Virginia v. EPA, 577 U.S.

1126 (2016) (mem. op.); BST Holdings, L.L.C. v. Occupational Sqfety & Health Admin., US

Dep 't of Lab., 17 F.4th 604 (5th Cir. 2021); Wages & White Lion lnvs., L.L.C. v. FDA, 16 F.4th

1130 (5th Cir. 2021); Texas v. EPA, 829 F.3d 405 (5th Cir. 2016). Defendants attempt

to distinguish a federal appellate court's power to stay agency action under Section 705 from a

district court's power to do same. See ECF No. 173 at 2- 3. But district courts have the same

authority as appellate courts in issuing Section 705 stays because of the nature of judicial review

of agency action. 7



5
   It is of no issue to Defendants that Section 705 also allows a court to "issue all necessary and appropriate
process ... to preserve status or rights pending conclusion of the review proceedings." Defendants argue this " clause
is subject to the same temporal limitation as the first clause for the simple reason that the status quo, once a rule goes
into effect, is that the rule is in effect." ECF No. I 63 at 27.
6
  Although Supreme Court has held the October 29 Memoranda constitute "final" and "operative agency action[],"
thereby qualifying the Memoranda as a rule, it did not detail the effective date of the action. Biden Ill, 142 S. Ct. at
2545; see also 5 U.S.C. § 551(4). The APA does not define "effective date" as used in Section 705. "In general, an
effective date is part of an agency statement of general or particular applicability and of future effect." Nat. Res. Def
Council, Inc. v. EPA, 683 F.2d 752, 761-62 (3d Cir. 1982) (internal marks omitted); see also Effective Date, BLACK'S
LAW DICTIONARY ("The date on which a statute, contract, or insurance policy, or other such instrument becomes
enforceable or otherwise takes effect. This date sometimes differs from the date on which the instrument was enacted
or signed."). Because this case does not turn on the effective date of the October 29 Memoranda, the Court need not
divine that date.
7
  The APA allows for judicial review in a court "of competent jurisdiction" absent a " special statutoty review
proceeding." 5 U.S.C. § 703. Without a special statutory provision, com1s of appeals may not directly review agency
actions. In re Sch Bd. of Broward Cnty. , 475 F.2d 1117, 1119 (5th Cir. 1973); see also Int'/ BIid. of Teamsters v.
Pena, 17 F.3d 1478, 1481 (D.C. Cir. 1994) ("Unless a statute provides otherwise, persons seeking review of agency
action go first to district court rather than to a court of appeals."). The AP A's stay provision is not limited to exclusive
application by appellate courts. Instead, the "reviewing com1[] may issue all necessary and appropriate process to




                                                             16
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                             Page 17 of 35 PageID 8174



        Whereas an agency may only "postpone the effective date of action taken by it, pending

judicial review," a federal court has broader power to " issue all necessary and appropriate

process to postpone the effective date of an agency action or to preserve status or rights pending

conclusion of the review proceedings." 5 U.S.C. § 705 (emphasis added). The greater limitation

on agencies exists because "agencies are creatures of statute" and, thus, "possess only the authority

that Congress has provided." Nat 'l Fed 'n of Indep. Bus. v. Dep 't ofLab., Occupational Sqfety &

Health Admin. , 142 S. Ct. 661,665 (2022).

        The cases Defendants cite preclude agencies            ~   not courts   ~   from staying the effective

date of agency actions at1er the effective date. Authorizing an agency to stay an already-taken

action would allow the agency to evade notice-and-comment requirements. See, e.g., Ctr. for

Biological Diversity, 2022 WL 971067, at *21 ("[l]t is one thing to permit an agency to stay an

administrative decision pending judicial review in order to maintain the status quo, but something

altogether different to alter the status quo without providing an opportunity for notice and

conunent."). An agency's "order delaying [a] rule's effective date ... [is] tantamount to amending

or revoking a rule." Clean Air Council v. Pruill, 862 F.3d 1, 6 (D.C. Cir. 2017). The APA

"mandate[s] that agencies use the same procedures when they amend or repeal a rule as they used

to issue the rule in the first instance." Perez v. Mortg. Bankers Ass 'n, 575 U.S. 92, 101 (2015).

This includes the general requirement that rules be subject to notice-and-comment procedures. 8

        The limitation on agencies contrasts with courts' inherent authority to stay agency action

to facilitate judicial review. See Nken, 556 U.S. at 426; see also McQuiggin v. Perkins, 569 U.S.



postpone the effective date of an agency action or to preserve status or rights pending conclusion of the review
proceedings." 5 U.S.C. § 705. Here, this Court is the relevant reviewing comt.
8
  The memoranda implementing MPP were published in the Federal Reg ister. See Notice of Availability for Policy
Guidance Related to Implementation of the Migrant Protection Protocols, 84 Fed. Reg. 681 I (issued January 25, 2019,
with publication date of Febrnary 25, 20 I 9). By conh·ast, the October 29 Memoranda were not published in the
Federal Register.



                                                        17
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                    Page 18 of 35 PageID 8175



383, 397 (2013) (Comts should "not construe a statute to displace courts' traditional equitable

authority absent the clearest command." (quoting Holland v. Florida, 560 U.S. 631, 636 (2010))).

The All Writs Act "preserves" courts' authority to issue such stays. See 28 U.S.C. § 1651(a)

("The Supreme Court and all courts established by Act of Congress may issue all writs necessary

or appropriate in aid of their respective jurisdictions and agreeable to the usages and principles

of law.").

       Just as vacating an agency action "does nothing but re-establish the status quo absent the

unlawful agency action," staying an agency action under Section 705 (even after the effective date)

restores the same status quo ex ante. Texas, 40 F.4th at 220; see also Wages & White Lion lnvs.,

16 F.4th at 1144. The "status quo" to be restored is "the last peaceable uncontested status existing

between the parties before the dispute developed ." CHARLES ALAN WRIGHT & ARTHUR R. MILLER,

l lA FEDERAL PRACTICE & PROCEDURE§ 2948 (3d ed. 2013) (cleaned up); see also Texas, 40 F.4th

at 219 (stating relevant status quo is "status quo absent the unlawful agency action" (quoting Nken,

556 U.S. at 428)); Wages & White Line lnvs., 16 F.4th at 1144 ("[T]he status quo [is] the state of

affairs before the" challenged agency action.). The "status quo" is thus the administration of MPP,

the status before the Secretary issued the October 29 Memoranda. "In other words, 'the relief

sought here would simply suspend administrative alteration of the status quo.'" Wages & White

Lion lnvs., 16 F.4th at 1144 (quoting Nken, 556 U.S. at 430 n.1).

       E. A Stay Is Appropriate

       "Motions to stay agency action pursuant to [Section 705] are reviewed under the same

standards used to evaluate requests for interim injunctive relief." Affinity Healthcare Servs.,

720 F. Supp. 2d at 15 n.4; see also Texas, 829 F.3d at 435 (applying preliminaiy injunction

factors). These factors require the movant to show: (1) a likelihood of success on the merits;




                                                 18
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 19 of 35 PageID 8176



(2) a likelihood of irreparable harm in the absence of preliminary relief; (3) the balance of equities

tips in its favor; and (4) an injunction is in the public interest. Valley v. Rapides Par. Sch. Bel. ,

118 F.3d 1047, 1051 (5th Cir. 1997). Plaintiffs satisfy all four factors.

       1. Plaintiffs are likely to succeed on the merits.

      A court must "hold unlawful and set aside agency action" that is "arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law." 5 U.S.C. § 706(2). Although a

reviewing "court may not substitute its own policy judgment for that of the agency" and must

apply this standard deferentially, the agency action must "be reasonable and reasonably

explained." FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021 ). Agency "action must

be upheld, if at all, on the basis articulated by the agency itself," not reasons developed ex post.

Stale Farm, 463 U.S. at 50. Agency "action premised on reasoning that fails to account for

'relevant factors' or evinces 'a clear error of judgment"' must be set aside. Univ. of Tex. MD.

Anderson Cancer Cir. v. HHS, 985 F.3d 472,475 (5th Cir. 2021) (quoting Marsh v. Or. Nat. Res.

Council, 490 U.S. 360,378 (1989)).

      Judicial review of agency action "is not toothless." Sw. Elec. Power Co. v. EPA, 920 F.3d

999, IO 13 (5th Cir. 2019). The agency must examine relevant data and articulate a satisfactory

explanation for its action, including a "rational connection between the facts found and the choice

made." State Farm, 463 U.S. at 43 (quoting Burlington Trncklines v. United States, 371 U.S. 156,

168 (1962)). The agency must also consider reliance interests of those affected by a contemplated

decision and consider less-disruptive policies given those interests. Dep 't of Homeland Sec. v.

Regents of Univ. of Cal., 140 S. Ct. 1891 , 1913-15 (2020). In the immigration context, the

agency's "approach must be tied, even if loosely, to the purposes of the immigration laws or the

appropriate operation of the immigration system." Judulang v. Holder, 565 U.S. 42, 55 (2011).




                                                 19
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                                 Page 20 of 35 PageID 8177



Merely saying something "was considered is not enough to show reasoned analysis." Eiden, 10

F.4th at 555.

        a. Defendants/ail to adequately consider how using contiguous-territo,y return authority
           would allow them to avoid violations ofthe INA 's detention mandate.

        The October 29 Memoranda rely on incorrect legal conclusions, including that

"Section 1225        does      not    impose       a    near-universal        detention      mandate,"        and     that

Section 1182(d)(5)(A)'s parole authority permits DHS to parole nearly all aliens subject to

Section 1225's mandatory-detention obligation. ECF No. 162 at 49-51. Under 8 U.S.C.

§ 1225(b)(2)(A), an alien "seeking admission [who] is not clearly and beyond a doubt entitled to

be admitted ... shall be detained for a proceeding under section 1229a of this title." See also

Jennings v. Rodriquez, 138 S. Ct. 830, 842 (2018) ("Read most naturally, [the statute] mandate[s]

detention . .. ."). This Court has already determined Section 1225's detention requirements

are mandatory. See ECF No. 94 at 42-44. Likewise, the Fifth Circuit determined

Section 1225(b)(2)(A)'s "shall be detained" language is "obviously a mandatory statutory

command -        not a commitment to agency discretion." Eiden II, 20 F.4th at 978, 992-96. Eiden III

does not upset this Court and the Fifth Circuit's determinations stating as much. 9

        Before terminating MPP, Defendants had to thoroughly consider the effect of the

termination on mandatory-detention duties. Cf Portland Cement Ass 'n v. EPA, 665 F.3d 177, 187


9
  In Biden Ill, the Supreme Court rejected the insinuation that its "opinion authorizes the Government to release aliens
subject to detention under section 1225(b)(2)(A)," and clarified that it " need not and d[id] not decide whether the
detention requirement in section 1225(b)(2)(A) is subject to principles of law enforcement discretion ... or whether
the Government's current practices simply violate that provision." Biden 11/, 142 S. Ct. at 2542 n.4. Instead, the Court
only "assum[d] arg11e11do for purposes of [its] opinion that the dissent's interpretation of section 1225(b)(2)(A)
[as mandating detention] is correct, and that the Government is currently violating its obligations under that
provision." Id. at 2542. Justice Alito's dissent interpreted Section 1225(b)(2)(A) in harmony with this Court's
interpretation. Justice Alito's dissent pointed to the conclusion in Je1111i11gs v. Rodriguez that " [r]ead most naturally,
§§ 1225(b)(l) and (b)(2) ... mandate detention of applicants for admission until ce11ain proceedings have concluded."
Bide11 ff/, 142 S. Ct. at 2554 (Alito, J., dissenting) (quoting 138 S. Ct. at 842). That Section 1225(b)(2)(C) confers
discretionary authority does not nullify Section 1225(b)(2)(A)'s mandato1y-detention requirement. The Secretmy can
violate his mandato1y-detention duty under Section 1225(b)(2)(A) while exercising discretion not to return certain
aliens under Section 1225(b)(2)(C).



                                                           20
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                  Page 21 of 35 PageID 8178



(D.C. Cir. 2011) (stating "an agency must have a similar obligation to acknowledge and account

for a changed regulatory posture the agency creates -      especially when the change impacts a

contemporaneous and closely related rulemaking"); Off of Commc 'n of United Church of Christ

v. FCC, 707 F.2d 1413, 1441-42 (D.C. Cir. 1983) (finding it "seriously disturbing" and "almost

beyond belief' that an agency would take rulemaking action undercutting another "concurrent"

rulemaking process). Defendants failed to do so.

      Terminating MPP lessened Defendants' ability to detain all arriving aliens, as mandated by

Congress. Although DHS may exercise its discretion and parole certain aliens on a "case-by-

case basis," the exercise of that discretion must "be reasonable and reasonably explained."

Eiden III, 142 S. Ct. at 2548-49 (Kavanaugh, J., concurring); see also Eiden Ill, 142 S. Ct. at 2543

("DHS 's exercise of discretion within that statutory framework must be reasonable and reasonably

explained."). That DHS may, on a "case-by-case basis," parole some aliens rather than detaining

them or returning them to Mexico, does not mean the October 29 Memoranda sufficiently

explained why those aliens were paroled. 8 U.S .C. § l 182(d)(5)(A).

      An assertion that "the Secretary did consider Section 1225(b)(2)(A)" does not adequately

address the issue. ECF No. 163 at 37. The Secretary did consider Section 1225(b)(2)(A)- though

only to conclude that he did not need to detain all inadmissible aliens as mandated by statute.

ECF No. 162 at 49. In full, the Secretary stated:

       Section 1225 does not impose a near-universal detention mandate for all
       inadmissible applicants for admission either as a general matter or conditionally
       where noncitizens are not returned to a contiguous territory. Section 1225 'does not
       mean' that eve1y noncitizen ' must be detained from the moment of apprehension
       until the completion of removal proceedings.' The INA provides DHS with latitude
       for processing noncitizens beyond returns or detention. DHS ' may ... in [its]
       discretion' release a noncitizen placed in Section 1229a proceedings through
       ' parole,' pursuant to 8 U.S.C. § l 182(d)(5) 'for urgent humanitarian reasons or
       significant public benefit. '




                                                21
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 22 of 35 PageID 8179



Id. (citing Maller of M-S-, 27 I&N Dec. 509, 516- 17 (A.G. 2019), and Rodriguez, 138 S. Ct.

at 837). Defendants highlight other portions of the Explanation Memorandum, contending the

Secretary determined "reading Section 1225 to impose such a near-universal mandate is

inconsistent with the statutory text, the history of immigration detention in this country, and the

agency's consistent and longstanding interpretation of its statutory authorities." ECF No. 163

at 37. But those portions push aside the undisturbed holdings of the Fifth Circuit and this Court,

impennissibly replacing caselaw with agency-made "law." See ECF No. 162 at 30-33.

        The Secretary's consideration does not -    in and of itself- mean he adequately considered

obligations imposed by Section 1225(b)(2)(A). See Eiden Ill, 142 S. Ct. at 2543 (requiring a

reasonable explanation). Reasonable consideration would address that terminating MPP affects

DHS's ability to comply with mandatory-detention requirements. The October 29 Memoranda do

not reflect necessary reasonable consideration. Instead, they merely make an assertion contrmy to

this Court's prior conclusion -   a conclusion vindicated by the Fifth Circuit and relied upon by

the Supreme Court. See ECF No. 94 at 42-44; Biden Ill, 142 S. Ct. at 2541-42; Eiden Ill, 142 S.

Ct. at 2553-54 (Alita, J., dissenting); Biden II, 20 F.4th at 978, 992- 96.

        Defendants appear to base the renewed termination of MPP on arbitrary ·and capricious

grounds by denying that Section 1225 creates a detention mandate, despite this Court's earlier

conclusion to the contra1y. See ECF No. 94 at 42-44. Accordingly, Defendants likely could

not -    and did not - properly analyze the strength of using MPP to reduce their noncompliance

with their detention mandates.

        b. Defendants fail to adequately examine whether DHS's rescission of MPP causes it to
           violate the limits on ifs parole authority.

        In the Explanation Memorandum, the Secretary relies on DHS's "parole" authority under

Section l 182(d)(5) of the INA to support his conclusion that "Section 1225 does not impose a



                                                   22
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 23 of 35 PageID 8180



near-universal detention mandate for all inadmissible applicants for admission." ECF No. 162

at 49. The INA grants DHS the express authority to "parole" applicants for admission "only on a

case-by-case basis for urgent humanitarian reasons or significant public benefit." 8 U.S.C.

§ 1182(d)(5)(A); see also Biden III, 142 S. Ct. at 2543 (noting "the INA expressly authorizes DHS

to process applicants for admission under a third option: parole" (citing 8 U.S.C. § l 182(d)(5)(A)).

      DHS's parole authority "is not unbounded." Eiden III, 142 S. Ct. at 2543. "OHS may

exercise its discretion to parole applicants ' only on a case-by-case basis for urgent humanitarian

reasons or significant public benefit."' Id. (quoting 8 U.S.C. § 1182(d)(5)(A)). "And under the

APA, DHS's exercise of discretion within that statutory framework must be reasonable and

reasonably explained." Id. The October 29 Memoranda fail to consider how terminating MPP -

combined with Defendants' inability to detain all arriving aliens -    leads to increased violations

of limits on their parole authority as they release aliens into the United States. Cf Portland Cement

Ass 'n, 665 F.3d at 187; Office ofC0111111 'n of United Church ofChrist, 707 F.2d at 1141-42.

      "Tlu·oughout the mid-twentieth centmy, the executive branch on multiple occasions

purported to use the parole power to bring in large groups of immigrants," so, "[i]n response,

Congress twice amended 8 U.S.C. § l l 82(d)(5) to limit the scope of the parole power and prevent

the executive branch from using it as a programmatic policy tool." Eiden II, 20 F.4th at 947

(internal marks omitted); see also Cruz-Miguel v. Holder, 650 F.3d 189, 199 & n.15 (2d Cir. 2011 ).

Limiting the scope of Section l 182(d)(5) did not completely remove Defendants' discretion to

parole aliens. But parole cannot be granted on a categorical basis by a broad, progranunatic

decision. See, e.g. , Ha,per & Row Publishers, Inc. v. Nation Enters. , 471 U.S . 539, 561 (1985);

FBI v. Abra111son, 456 U.S. 615, 631 (1982). Section 1182(d)(5) explicitly limits DHS's parole




                                                 23
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                               Page 24 of 35 PageID 8181



authority to "case-by-case" consideration: "The power must be exercised on a case-by-case basis."

Riden If, 20 F.4th at 947 (emphasis added).

        The Court previously found MPP's termination forced Defendants "to release and parole

aliens into the United States because [Defendants] simply do not have the resources to detain aliens

as mandated by statute." ECF No. 94 at 17. And Defendants continue to do so. See ECF No. 143-1

at 4-5 (noting Defendants released 11,424 applicants for admission and released 72,611 applicants

for admission, "whether paroled or otherwise," in June 2022). The October 29 Memoranda attempt

to justify Defendants' actions by stating "the [parole] statute does not set any limit on the number

of individuals DHS can decide to release on parole." ECF No. 162 at 49. That may be true.

But "the number of aliens paroled each month ... gives rise to a strong inference that the

Government is not really making these [parole] decisions on a case-by-case basis." Riden 111, 142

S. Ct. at 2554 (Alito, J., dissenting); see also Eiden 11, 20 F.4th at 997 (stating "the Government's

proposal to parole every alien it cannot detain is the opposite of the 'case-by-case basis'

determinations required by law"). The October 29 Memoranda also attempt to justify Defendants'

actions by relying on past DHS practice, claiming DHS has "long interpreted" its parole authority

to enable it to simply parole aliens when it lacks sufficient detention capacity . 10 ECF No. 162 at

50. Yet practice "does not, by itself, create power." Medellin v. Texas, 552 U.S. 491, 532 (2008)

(quoting Dames & Moore v. Regan, 453 U.S. 654,686 (1982)); see also Judulang, 565 U.S . at 61

("Arbitra1y agency action becomes no less so by simple dint of repetition," and "longstanding

capriciousness receives no special exemption from the APA.").




10
  The Comt notes, however, the October 29 Memoranda fail to address Defendants' prior determinations that lack of
detention space is not an appropriate reason to parole an alien. See ECF No. 162 at 177, 179, 181 . "An agency's failure
to come to grips with conflicting precedent constitutes an inexcusable departure from the essential requirement of
reasoned decisionmaking." Ramaprakash v. FAA, 346 F.3d 1121 , 1125 (D.C. Cir. 2003) (internal marks omitted).



                                                          24
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                 Page 25 of 35 PageID 8182



      Section 1182(d)(5)(A)'s text and historical context contradict any claim to such power.

Section 1182(d)(5)(A)'s text is clear: "Deciding to parole aliens en masse is the opposite of case-

by-case decisionmaking." Biden II, 20 F.4th at 942; see also Eiden III, 142 S. Ct. at 2554 (Alito,

J., dissenting) ("[T]he number of aliens paroled each month under that provision -      more than

27,000 in April of [2022] -    gives rise to a strong inference that the Government is not really

making these decisions on a case-by-case basis."). Applying Chevron deference does not change

Section 1182(d)(5)(A)'s requirements. See generally Chevron US.A., Inc. v. Nat. Res. Def

Council, 467 U.S. 837 (1984). Defendants "must operate within the bounds of reasonable

interpretation," even when applying Chevron. Michigan v. EPA , 576 U.S . 743, 751 (2015).

      While an agency generally "has the authority to rely on rulemaking" to resolve "certain

issues of general applicability," Congress can withhold that authority. Lopez v. Davis, 531 U.S.

230, 243-44 (2001) (quoting Am. Hmp. Ass 'n v. NLRB, 499 U.S. 606, 612 (1991 )). Congress did

so when it passed the Illegal Immigration Reform and Immigrant Responsibility Act of 1996

("IIRIRA") to cabin the executive branch's parole authority, believing the executive used that

authority to evade congressionally mandated detention. Cruz-Miguel, 650 F.3d at 199 & n.15; see

also Biden II, 20 F.4th at 947 (After "the executive branch on multiple occasions purported to use

the parole power to bring in large groups of immigrants, . .. Congress twice amended 8 U.S.C.

§ 1182(d)(5) to limit the scope of the parole power and prevent the executive branch from using it

as a programmatic policy tool." (internal marks omitted)). "By enacting [IIRIRA], Congress

'specifically narrowed the executive ' s discretion to grant' parole due to ' concern that

parole ... was being used by the executive to circumvent congressionally established immigration

policy." ' ECF No. 94 at 43 n.11 (quoting Cruz-Miguel, 650 F.3d at 199 & n.15).




                                                25
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 26 of 35 PageID 8183



      Likewise, Section 1182(d)(5)(A)'s historical context confirms OHS cannot exercise its

parole authority to parole categories of aliens, rather than individuals. Before IIRIRA, federal

inunigration authorities enjoyed a parole power " under such conditions as [the Attorney General]

may prescribe for emergent reasons or for reasons deemed strictly in the public interest." Pub. L.

No. 414 ch. 477, Title II, ch. 2, § 212, 66 Stat. 182. This parole authority was "close to plenary."

Amanullab v. Nelson, 811 F.2d 1, 6 (1st Cir. 1987). But again, Congress curtailed the parole

authority by amending Section 1 l 82(d)(5)(A), thereby expressly limiting the parole authority to

require case-by-case determinations.

      As for Section 1226(a), that provision does not apply to individuals eligible for MPP.

Section 1226(a) governs the arrest, detention, and release of aliens who are already "present in the

country." Rodriguez, 138 S. Ct. at 837. By contrast, Section 1225 applies to aliens arriving to the

United States. Because neither side disputes only aliens apprehended at the border are eligible for

MPP, Defendants cannot use Section 1226(a) to parole MPP-eligible aliens in lieu of detention or

contiguous return. ECF No. 149 at 23; ECF No. 162 at 49.

      Considering the above, the Comt finds the October 29 Memoranda likely fail to adequately

consider the relevant costs and benefits of MPP. Therefore, the Court finds the October 29

Memoranda are likely arbitrary and capricious in this fashion.

      c. Defendants fail to adequately account for several key benefits ofMPP.

      The October 29 Memoranda fail to consider MPP's deterrent effect on illegal border

crossings   and   the   reduction   of umneritorious      asylum    claims.   For   example,    the

October 29 Memoranda extensively discuss conditions migrants face while they remain in

Mexico. ECF No. 162 at 34-40. Yet the Memoranda do not mention the hardships aliens face




                                                26
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                                 Page 27 of 35 PageID 8184



when making the dangerous journey to the southern border in the first instance, 11 despite

acknowledging MPP "likely ... contributed to a decrease in migration flows." Id. at 45.

The October 29 Memoranda further fail to analyze how MPP deterred migrants with unmeritorious

asylum claims from traveling to the southern border, just as the June 1 Memoranda failed to do.

Id. at 40-43; see also ECF No. 94 at 36 (stating June 1 Memoranda failed to "address the problems

created by false claims of asylum or how MPP addressed those problems").

         Defendants abandoned statistic-based decisiomnaking for intuitional decisionmaking. See,

e.g., ECF No. 162 at 45 ("In making his determination decision, the Secretary has presumed- as

is likely- that MPP contributed to a decrease in migrant flows." (emphasis added)). When MPP

was first announced, DHS "observed that 'approximately 9 out of 10 asylum claims from Northern

Triangle countries are ultimately found non-meritorious by federal immigration judges.'" Id. at

42-43. But when terminating MPP, the October 29 Memoranda acknowledge Defendants "do[]

not have a record of the methodology used to generate this '9 out of 10' statistic." Id. at 43.

Defendants implemented a policy change because, in their view, MPP led to too few asylum grants.

Id. To support their conclusion, Defendants cite lower rates for granting asylum claims for those

enrolled in MPP. Id. But Defendants fail to articulate why higher rates outside MPP are more

accurate determinations than the lower rates for aliens enrolled in the program. Instead, Defendants

conclude "[t]hese discrepancies strongly suggest that at least some MPP enrollees with meritorious

claims either abandoned or were unable to adequately present their claims." Id.

         The October 29 Memoranda do not appear to demonstrate "a rational connection between

the facts found and the choice made" to terminate MPP. State Farm, 463 U.S. at 43 (internal marks


11Plaintiffs do not press claims on behalf of third parties. Instead, Plaintiffs highlight the reduction in journeys to the
southern border "as a benefit the Secretary failed to consider, and [Plaintiffs] have standing to raise that procedural
injury since it affects the States' concrete interests." ECF No. 168 at 7- 8 n. l; cf Summers v. Earth Island Inst.,
555 U.S. 488, 496-97 (2009).



                                                            27
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 28 of 35 PageID 8185



omitted). Absent some qualification, presumptions and speculations do little -      if anything -   to

justify agency action. The Court finds "[s]uch intuitional ... decisionmaking, completely opaque

to judicial review," likely "fall[s] somewhere on the distant side of arbitrmy." Gen. Chem. Corp.

v. United States, 817 F.2d 844, 855 (D.C. Cir. 1987) (quoting Cent. Fla. Enters., Inc. v. FCC, 598

F.2d 37, 50 (D.C. Cir. 1978)). Decisionmaking based on "policy preferences" cannot replace

required reasoned decisionmaking. See Dep't of Commerce v. New York, 139 S. Ct. 2551 , 2574-

75 (2019).

       Defendants also fail to consider MPP' s impact on human trafficking. Cf ECF 94 at 20.

They instead focus on other crimes, including narcotics smuggling. ECF No. 162 at 47-48.

Although the data Defendants cite for these crimes suggests a decline, several problems with the

data exist. First, Defendants note "[t]hese declines have been driven by a substantial decrease in

marijuana smuggling," as "hard narcotics ... are historically smuggled through po1ts of entty and

thus have ve1y little connection to MPP' s implementation." Id. at 47. Second, although Defendants

state "[s]eizures of narcotics [are not] necessarily indicative of [human] trafficking activity," they

use this data to conclude there is no evidence of MPP's effect on human trafficking. Id.

       By using irrelevant data, Defendants again fail to articulate "a rational connection between

the facts found and the choice made." State Farm, 463 U.S. at 43; see also Biden II, 20 F.4th at 992

("We do not fault DHS for failing to provide a study. We fault DHS for cherry-picking a single

statistic from the administrative record and relying on it in an entirely nonsensical fashion.").

The use of admittedly irrelevant data strongly evidences a lack of rational decisiomnaking, as

agencies "must examine the relevant data" -        not just any data. State Farm, 463 U .S. at 43

(emphasis added).




                                                 28
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                 Page 29 of 35 PageID 8186



      d. Defendants fail to adequately justijj, factual determinations regarding in absentia
         removal orders.

      The October 29 Memoranda provide no rational explanation why the increased rates of in

absentia removals for aliens enrolled in MPP are not an indicator of MPP working. See ECF

No. 162 at 22-23 (noting 32 percent of aliens enrolled in MPP were subject to in absentia orders

of removal at some point during removal proceedings, whereas the rate was only 13 percent for

aliens not processed through MPP during the same time period), 43 (stating MPP was "deterring

non-meritorious claims"). The Court previously noted that "[a] higher rate of in absentia removal

is consistent with DHS 's [previous] findings that MPP reduced the 'perverse incentives' to pursue

meritless asylum applications." ECF No. 94 at 40-41; see also ECF No. 162 at 41 ("The fact that

in absentia removal order rates (and in absentia removal order rates plus termination rates) were

considerably higher for MPP cases than for comparable non-MPP cases might not, by itself,

indicate a problem with MPP."); cf ECF No. 162 at 43 n.89 (noting "implicit" in claim that MPP

deterred aliens from asserting asylum claims, "many of which may be meritless" is that "some

such claims do have merit" (emphasis removed)).

      In the administrative record, DHS only addresses that fact by asserting MPP "deterred too

many meritorious asylum claims at the expense of deterring non-meritorious claims." ECF No. 162

at 43. And Defendants simply reiterate this claim in briefing. See id. The Court is unaware of any

attempt by a federal actor to quantify, estimate, or show how many deterred meritorious asylum

claims there are. DHS was under no obligation "to conduct or commission [its] own empirical or

statistical studies" as a general matter. Prometheus Radio Project, 141 S. Ct. at 1160. But the

failure to do so does not permit one to compare anecdotes that MPP deterred meritorious claims

with hard numbers regarding the rate of in absentia orders, especially where the anecdotes and

hard numbers are not clearly comparable. The anecdotes (while showing that some aliens



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Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                               Page 30 of 35 PageID 8187



abandoned or lost their claims due to conditions in Mexico) do not establish that those claims were

meritorious. 12 Likewise, the raw rate of in absentia orders contain a mixture of meritorious and

non-meritorious claims. So, one cannot conclude that the rate of deterrence of meritorious claims

is high relative to non-meritorious claims based on the raw rate of in absentia orders.

        Accordingly, the Secretary fails to link the high in absentia removal rate for aliens emolled

in MPP with his claim that MPP deterred too many meritorious asylum claims compared to non-

meritorious claims. So again, the failure to appreciate the relevant costs and benefits of MPP

indicates Defendants failed to make a reasoned determination by considering all relevant factors.

        e. Defendants fail to adequately consider costs to States and their reliance interests.

        The October 29 Memoranda devote little consideration of the costs to States and their

reliance interests. See ECF No. 162 at 46-48. Defendants noted aliens "received COVID-19 tests

before crossing the border and entering the United States," the Secretary "worked with

nongovernmental organizations and local officials in border communities to connect migrants

with short-term suppo1ts," and the Secretary has taken actions to combat "criminal activity." Id.

at 46-47. Notably missing -             however -       are considerations of the greater short-term and

long-term impacts on the States and any level of detail regarding the softening of those impacts.

See id. at 46-48.

        The Explanation Memorandum acknowledges "the termination of MPP could lead to an

increased number of noncitizens without proper documentation in [Texas and Missouri], which



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   The Explanation Memorandum notes "only 732 individuals enrolled in MPP out of 67,694 cases were granted relief
or protection from removal - a grant rate ofjust I. I [percent]." ECF No. 162 at 42. But the grant rate of a "comparable
set of non-MPP cases from the same time period" was "2.7 percent." Id. According to Defendants, this discrepancy
suggests "at least some MPP enrollees with meritorious claims either abandoned or were unable to adequately present
their claims given the conditions faced by migrants in Mexico and barriers to legal access." Id. at 43. It is doubtful a
difference of 1.6 percent in meritorious claims from the comparable datasets is largely attributable to conditions in
Mexico but not MPP's effectiveness. In any event, such a conclusion fails to account for the possibility that aliens
emailed in MPP differ from those not enrolled in the program.



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Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                     Page 31 of 35 PageID 8188



might cause the States to incur additional costs related to the costs of driver's licenses, public

education, state-funded healthcare, and law enforcement and correct_ional costs." Id. at 46; see also

ECF No. 94 at 17- 21 (discussing harms to Plaintiffs caused by termination of MPP). Yet the

Secretary concludes "[f]ederal immigration policy virtually always affects the number of people

living within the States." ECF No. 162 at 48. To Defendants, these are "marginal costs" that are

"outweighed by the other considerations and policy concerns." Id. Defendants did not attempt to

quantify these burdens to perform a cost-benefit analysis -          despite possessing data readily

available to do so. See ECF No. 94 at 17- 21 .

       This case resembles Texas v. United States, where the Fifth Circuit determined the

defendants overlooked both States' costs and their reliance interests in federal immigration

policies. See generally 40 F.4th 205 (5th Cir. 2022) (per curiam). Although the DHS memorandum

at issue contained "a multi-page section ... analyzing the 'Impact on States,"' the Fifth Circuit

found the analysis "dismissive," as it merely "dots 'i's' and crosses 't's' without actually saying

anything." Id. at 228. By failing to "quantify or at least reasonably describe the costs of th[e] policy

to the States" and making the "audacious[] conclu[sion] that 'any effects from implementation of

priorities guidance are unlikely to be significant," the defendants did not satisfy the requirement

that agencies consider the costs to the States. Id. (internal marks omitted).

       Defendants also gloss over the States' reliance interests. The October 29 Memoranda assert

"the Secretary is unaware of any State that has materially taken any action in reliance on the

continued implementation ... of MPP" and state "any claimed reliance interest is undermined by

the fact that [MPP] is itself discretionary." ECF No. 162 at 48. In Department of Homeland

Security v. Regents ofthe University ofCalifornia, "the Supreme Court acknowledged that DACA

was a discretionary program . . . . [but still] faulted OHS for not considering reliance




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Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                    Page 32 of 35 PageID 8189



interests ... [t]hat included the States' reliance interests." Eiden 11, 20 F.4th at 990 (citing 140 S.

Ct. at 1910, 1913-14). Just as DHS was required to consider States' reliance interests before

terminating DACA, Defendants must consider States' reliance interests before terminating MPP.

Id. at 990. The October 29 Memoranda also discount Plaintiffs' reliance interests, stating:

"The short time in which MPP was in place, as well as the small percentage of noncitizens

encountered along the [southwest border] who were enrolled in MPP while it was in operation,

undercut any claimed reliance interest, as well as any claim regarding significant burdens to the

States." ECF No. 162 at 48. Like MPP, DACA had only existed for a short time. See Regents, 140

S. Ct. at 1901. This statement is further contradicted by the Secretary's statements that the benefits

of MPP include deterring aliens from arriving. So, the Court must look beyond enrollment

numbers when considering Plaintiffs' reliance interests.

       Plaintiffs, particularly the State of Texas, shoulder much of the burden of unlawful

immigration, which " must not be underestimated." Arizona v. United States, 567 U.S. 387, 397-

98 (2012). Texas is "a 900-mile border state." Texas, 40 F.4th at 228. It cannot be that Texas

"has no reliance interests in the enforcement of federal criminal immigration law." Id.

Giving short shrift to a relevant consideration "is not a substitute for considering it." Getty v. Fed.

Sav. & Loan Ins. C01p. , 805 F.2d 1050, 1055 (D.C. Cir. 1986). In fact, the Fifth Circuit has

recognized Plaintiffs' reliance interests in MPP's continuation: "The Supreme Court has

recognized that border states ' bear[] many of the consequences of unlawful inunigration.' It

therefore follows that a 'potential reliance interest' that DHS must consider includes Texas."

Eiden, 10 F.4th at 553 (quoting Arizona, 567 U.S. at 397) (alteration in original).

       By terminating MPP without adequately considering the reliance interests of States in

control of the flow of aliens (as assisted by MPP), Defendants do not appear to have tied their




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Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                    Page 33 of 35 PageID 8190



approach, "even if loosely, to the purposes of the immigration laws or the appropriate operation of

the immigration system." Judulang, 565 U.S. at 55; see also Texas, 40 F.4th at 228 ("At this point,

OHS has not shown a likelihood that it adequately considered the relevant costs to the States or

their reliance interests in the pre-existing enforcement policy."). Failure to adequately consider the

costs imposed on States and their reliance interests likely constitutes arbitrary and capricious

decisionmaking.

      2. Plaintiffs will likely suffer irreparable harm without preliminmy relief.

      "To show irreparable injury" in lieu of a stay, "it is not necessary to demonstrate that harm

is inevitable and irreparable." Humana, Inc. v. Avram A. Jacobson, MD. , P.A., 804 F.2d 1390,

1394 (5th .Cir. 1986). "The plaintiff need show only a significant threat of injury from the

impending action, that the injury is imminent, and that money damages would not fully repair the

harm." Id. As the Court previously determined, "Plaintiffs have shown that they are suffering

ongoing and future injuries as a result of the termination of MPP." ECF No. 94 at 49. The same

injuries giving rise to standing are relevant to the irreparable injmy analysis. See Eiden II, 20 F.4th

at 1002 (factual findings regarding injury made in standing context show increased costs to States

from termination ofMPP, and inability to recover from federal government supports determination

that States have suffered an irreparable injmy for which remedies available at law are precluded

due to sovereign immunity). Accordingly, Plaintiffs satisfy this factor.

       3. The balance of equities tips in Plaintiffs' favor and relief under Section 705 is in the
          public interest.

       When considering the propriety of a Section 705 stay, the two final prongs "merge when

the Government is the opposing party." Nken, 556 U.S. at 435. The analysis of the public interest

and the balance of the equities is the same regarding the new attempt to terminate MPP as it was

when the Com1 last addressed these factors. See ECF No. 94 at 50. Defendants lack a legitimate



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Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                   Page 34 of 35 PageID 8191



interest in implementing an unlawful agency action. See League ofWomen Voters ofU.S. v. Newby,

838 F.3d 1, 12 (D.C. Cir.2016). Rather, there is a "public interest in having governmental agencies

abide by the federal laws that govern their existence and operations." Washing/on v. Reno, 35 F.3d

1093, 1103 (6th Cir. 1994). This remains true "even in pursuit of desirable ends." Wages & White

Lion Invs., 16 F.4th at 1143 (quoting Ala. Ass 'n ofRealtors v. Dep 't ofHealth & Hum. Servs., 141

S. Ct. 2485, 2490 (2021)). And the public interest favors Plaintiffs because the public has an

"interest in stemming the flow of illegal immigration" through the enforcement of immigration

laws, including Section 1225. United States v. Escobar, No. 2: 17-CR-529, 2017 WL 5749620, at

*2 (S.D. Tex. Nov. 28, 2017); see also ECF No. 94 at 50.

      F. A Section 705 Remedy Need Not Be Geogl'aphically Limited

      "In the context of immigration law, broad relief is appropriate to ensure uniformity and

consistency in enforcement." Texas, 40 F.4th at 229 n.18. Here, "[t]here is a substantial likelihood

that a geographically-limited [remedy] would be ineffective," as aliens would simply enter the

United States through a non-party State. Id.

      In any event, "[w]hen a reviewing court determines that agency regulations are unlawful,

the ordinary result is that the rules are vacated -    not that their application to the individual

petitioners is proscribed." Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir. 1989).

The text of Section 705 confirms this interpretation when applied to a stay. By "postpon[ing] the

effective date of an agency action," the Court would stop the agency action in total. 5 U.S.C. § 705.

The postponement clause does not merely speak to part of an agency action or indicate courts

should take a piecemeal approach. And under the postponement clause 's sister provision -

allowing the Court "to preserve status or rights" -      the relevant status quo was that MPP was

administered along the southern border as a whole. Id.




                                                 34
Case 2:21-cv-00067-Z Document 178 Filed 12/15/22                Page 35 of 35 PageID 8192



      CONCLUSION

      Based on the above, the Comt GRANTS the Motion. The Comt STAYS the October         29
Memoranda and corresponding decision to terminate MPP pending final resolution of the merits

of this action. The Comt DENIES all relief not expressly granted herein.

      SO ORDERED.

      December   IG 22

                                                    MA   HEW J. KACSMARYK
                                                    uy TED STATES DISTRICT JUDGE




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